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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MARYLAND


  FEDERAL TRADE COMMISSION,                            Case No. 1:20-cv-3538-GLR

          Plaintiff,

  v.

  RAGINGBULL.COM, LLC, et al.,

          Defendants.


  DEFENDANTS KYLE W. DENNIS, WINSTON RESEARCH, INC., AND WINSTON
    CORP.’S RESPONSE TO PLAINTIFF’S EMERGENCY MOTION TO STAY

       Defendants Kyle W. Dennis, Winston Research Inc., and Winston Corp. (the “Dennis

Defendants”) respectfully submit this response to Plaintiff Federal Trade Commission’s

Emergency Motion to Stay. [ECF No. 229.] The Dennis Defendants object to a stay of this action,

and particularly of briefing on their Motion to Dismiss and Motion to Strike the Federal Trade

Commission’s Request for Monetary Relief Under Section 13(b) of the FTC Act. [ECF No. 225.]

The FTC’s motion proposes to hold this case in abeyance for at least six weeks, after which the

FTC will file a motion for leave to file a second amended complaint – an amendment that would

be both pointless and futile.

       The FTC seeks to amend its complaint for a second time in light of the Supreme Court’s

unanimous, unequivocal ruling that the FTC cannot obtain monetary relief pursuant to Section

13(b) of the FTC Act. AMG Capital Management, LLC v. FTC, No. 19-508, 2021 WL 1566607

(U.S. Apr. 22, 2021). But there is no good cause to delay this case just so the FTC can strip out

its legally baseless monetary demand. The Dennis Defendants have already moved to strike the

same request for relief under Federal Rule of Civil Procedure 12(f), and have expended substantial
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resources in doing so. The Dennis Defendants’ motion, moreover, was based on the precise logic

adopted by the Supreme Court in AMG. Granting the Dennis Defendants’ motion to strike will

therefore result in the same end result as the FTC’s contemplated amendment, and will do so far

more efficiently than the mechanism proposed by the FTC, which will conservatively take four

months or more.1 In conferring on this motion, counsel for the Dennis Defendants suggested this

approach, to which the FTC has not provided a response.

        Any proposed amendment along the lines contemplated by the FTC’s motion would also

be futile as against the Dennis Defendants, for all of the reasons given in their motion to dismiss

and presented to the Court in the course of the preliminary injunction litigation. Simply put, the

Dennis Defendants should not be part of this case. Kyle Dennis was one of many employees of

Raging Bull, whose responsibilities included providing educational content to paid subscribers,

not creating, reviewing, or approving marketing materials let alone being involved in corporate

policy about how subscribers could unsubscribe from the company’s products. Mr. Dennis has

already spent substantial resources defending against the FTC’s attempts to freeze his assets and

impose an injunction, and in moving to dismiss the FTC’s Amended Complaint. He should not

have to wait several more months with these claims hanging over him, and be forced to

unnecessarily expend additional resources in litigating against a proposed Second Amended

Complaint that would inevitably fail against him and the Winston Entities.




1
        The FTC has asked for at least six weeks to get internal authority to seek leave to file an
amended complaint. Assuming it receives permission, it will need to file a motion for leave to
amend, which will certainly be opposed if it tries to do anything other than drop the claim for
monetary relief – a briefing cycle that will take at least an additional four weeks. The parties will
then file renewed motions to dismiss (whether aimed at the current First Amended Complaint or a
new Second Amended Complaint), which will take at least another four weeks – for a total of at
least 14 weeks, or nearly four months, without factoring in any time for the Court to review and
decide the FTC’s motion for leave to amend.


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       The Dennis Defendants appreciate that the FTC styled its motion as only pertaining to the

so-called GT Defendants. But the reality is that if the FTC is given at least six weeks to amend its

complaint, that will affect the Dennis Defendants, whose motion to dismiss – unless the Court

decides it before the FTC files an amended complaint – will be mooted, and who will then have to

refile their motion and suffer the attendant delay. See Venable v. Pritzker, No. GLR-13-1867,

2014 WL 2452705, at *5 (D. Md. May 30, 2014), aff’d, 610 F. App’x 341 (4th Cir. 2015). Given

that the FTC has already used its amendment as of right, the Dennis Defendants respectfully submit

that the appropriate and fair way to proceed would be for the Court to decide the pending motions

to dismiss, including the motion to strike, which will address the AMG issue. If the FTC believes

that it is appropriate that it be granted leave to amend to address the many pleading deficiencies in

its complaint, it may make that argument in opposing the motions, and the Court can decide the

issue in that context. See, e.g., Frazier v. Experian Information Solutions, Inc., No. GLR-18-68,

2018 WL 6726311 (D. Md. Dec. 21, 2018). In parallel, the FTC can go through its internal

approval process.

       This case should be resolved expeditiously as to the Dennis Defendants, not delayed for

months so that the FTC can effectively re-start this case – all because of a Supreme Court ruling

that was entirely foreseeable.2 The FTC’s motion to stay should be denied.




2
        To say that the FTC saw AMG coming is an understatement. For example, just days before
the decision was issued, the full Commission testified to the U.S. Senate Committee on Commerce,
Science, and Transportation about the need to pass a legislative fix in light of the “recent judicial
trends” that foreshadowed the Court’s decision in AMG. See Prepared Statement of the Federal
Trade Commission: Strengthening the Federal Trade Commission’s Authority to Protect
Consumers (Apr. 20, 2021), available at tinyurl.com/usftc. A cynic might say that the FTC is
seeking additional delay in order to attempt to keep all the parties in this case until Congress passes
a new law reviving its monetary claims – a possibility that further underscores the prejudice to the
Dennis Defendants from delay.


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Dated: April 28, 2021
                                    Respectfully submitted,

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                                    Corp., and Winston Research Inc.




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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 28, 2021 a true and accurate copy foregoing was

properly served on all parties through the ECF system.


                                                         /s/ Matthew L. Schwartz
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